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  6
                                  UNITED STATES DISTRICT COURT
  7
  8                            CENTRAL DISTRICT OF CALIFORNIA

  9   THERESA BROOKE, a married woman
      dealing with her sole and separate claim,      Case No:
 10
 11                           Plaintiff,             VERIFIED COMPLAINT
 12   vs.                                            (JURY TRIAL DEMANDED)
 13
      INN ON THE BEACH LLC, a California
 14   limited liability company,
 15
                              Defendant.
 16
             Plaintiff alleges:
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                                               PARTIES
 18
             1.      Plaintiff Theresa Brooke is a married woman. Plaintiff is legally disabled,
 19
      and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2),
 20
      the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the
 21
      California Unruh Civil Rights Act. Plaintiff ambulates with the aid of a wheelchair due
 22
      to the loss of a leg.
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             2.      Defendant, Inn on the Beach LLC, owns and/or operates and does
 24
      business as the hotel Inn on the Beach located at 1175 South Seaward Avenue, Ventura,
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      California 93001. Defendant’s hotel is a public accommodation pursuant to 42 U.S.C. §
 26
      12181(7)(A), which offers public lodging services. On information and belief,
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      Defendant’s hotel was built or renovated after March 15, 2012.
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  1                                          JURISDICTION
  2          3.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
  3   U.S.C. § 12188.
  4          4.     Plaintiff’s claims asserted herein arose in this judicial district and
  5   Defendant does substantial business in this judicial district.
  6          5.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
  7   in that this is the judicial district in which a substantial part of the acts and omissions
  8   giving rise to the claims occurred.
  9          6.     Pursuant to Arroyo v. Rosas, supplemental jurisdiction is appropriate over
 10   Plaintiff’s Unruh claim. On a case-specific analysis, there are no compelling reasons to
 11   decline jurisdiction.
 12                                          ALLEGATIONS
 13          7.     Plaintiff alleges that Defendant’s Hotel’s disabled parking does not adjoin
 14   an accessible route to the Facility. Section 502.3.
 15          8.     Disabled parking spots relate to Plaintiff’s disability because she has only
 16   one leg and uses a wheelchair, and disabled parking provides for an access aisle and
 17   closer distances to an accessible entrance.
 18          9.     It is more difficult for a person in a wheelchair to move about than a
 19   person who is able to walk; it is also more time-consuming. Hence, disabled parking is
 20   mandated to provide an accessible route from the parking to the facility entrance.
 21          10.    Plaintiff formerly worked in the hospitality industry. She is an avid
 22   traveler across California for purposes of leisure travel and to “test” whether various
 23   hotels comply with disability access laws, doing so at least once per month. Testing is
 24   encouraged by the Ninth Circuit.
 25          11.    In mid-April 2025, Plaintiff visited Defendant’s hotel, which has a
 26   parking lot and disabled parking. However, the access aisle that the disabled parking
 27   spaces share leads into a curb and beyond the curb is dirty area, which makes no sense.
 28   An access aisle must lead to an accessible route, and leading into a curb for a person in


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  1   a wheelchair such as Plaintiff makes it an inaccessible route. A person in a wheelchair
  2   cannot navigate a curb, and so Defendant’s disabled parking does not adjoin an
  3   accessible route.
  4          12.    As a result of the violation that she personally encountered, she was
  5   deterred from entering the Hotel lobby and left the Hotel.
  6          13.    Plaintiff has certain plans of returning and staying at the Hotel in
  7   September 2025 during one of her many trips across Southern California, in the hopes
  8   that Defendant will have remediated the barrier by then thereby allowing her full and
  9   equal access. If the barrier is not removed by the time of her return, she will remain
 10   deterred.
 11          14.    It is readily achievable and inexpensive to modify the Hotel to paint an
 12   access aisle leading from the disabled parking to the Hotel’s entrance, thereby
 13   providing an accessible route from parking to the entrance.
 14          15.    Without injunctive relief, Plaintiff and others will continue to be unable to
 15   independently use Defendant’s hotel in violation of her rights under the ADA.
 16                                   FIRST CAUSE OF ACTION
 17      16. Plaintiff incorporates all allegations heretofore set forth.
 18          17.    Defendant has discriminated against Plaintiff and others in that it has
 19   failed to make its public lodging services fully accessible to, and independently usable
 20   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §
 21   121282(b)(2)(iv) and the 2010 Standards, as described above.
 22          18.    Defendant has discriminated against Plaintiff in that it has failed to
 23   remove architectural barriers to make its lodging services fully accessible to, and
 24   independently usable by individuals who are disabled in violation of 42 U.S.C.
 25   §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
 26   2010 Standards would neither fundamentally alter the nature of Defendant’s lodging
 27   services nor result in an undue burden to Defendant.
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  1          19.      In violation of the 2010 Standards, Defendant’s Hotel parking lot does not
  2   comply with Section 502.3 of the Standards, as described above.
  3          20.      Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
  4   as described above, is readily achievable by the Defendant. Id. Readily achievable
  5   means that providing access is easily accomplishable without significant difficulty or
  6   expense.
  7          21.      Defendant’s conduct is ongoing, and Plaintiff invokes her statutory right
  8   to declaratory and injunctive relief, as well as costs and attorneys’ fees.
  9          22.      Without the requested injunctive relief, Defendant’s non-compliance with
 10   the ADA’s requirements that its parking lot be fully accessible to, and independently
 11   useable by, disabled people is likely to recur.
 12          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
 13                a. Declaratory Judgment that at the commencement of this action Defendant
                      was in violation of the specific requirements of Title III of the ADA
 14                   described above, and the relevant implementing regulations of the ADA;
 15
                   b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
 16                   36.504(a) which directs Defendant to take all steps necessary to bring its
 17                   parking lot into full compliance with the requirements set forth in the
                      ADA;
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                   c. Payment of costs and attorney’s fees;
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 20                d. Provision of whatever other relief the Court deems just, equitable and
                      appropriate.
 21
                                      SECOND CAUSE OF ACTION
 22
 23      23. Plaintiff realleges all allegations heretofore set forth.
 24          24.      Defendant has violated the Unruh by denying Plaintiff equal access to its
 25   public accommodation on the basis of her disability as outlined above.
 26          25.      Unruh provides for declaratory and monetary relief to “aggrieved
 27   persons” who suffer from discrimination on the basis of their disability.
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  1          26.      Plaintiff has been damaged by the Defendant’s non-compliance with
  2   Unruh.
  3          27.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
  4   relief as the Court considers appropriate, including monetary damages in an amount of
  5   $4,000.00, and not more.
  6          28.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
  7   amount to be proven at trial.
  8          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
  9                a. Declaratory Judgment that at the commencement of this action Defendant
                      was in violation of the specific requirements of Unruh; and
 10
 11                b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
                      36.504(a) which directs Defendant to take all steps necessary to bring its
 12                   parking lot into full compliance with the requirements set forth in the
 13                   ADA;

 14                c. Payment of costs and attorney’s fees;
 15                d. Damages in the amount of $4,000.00; and
 16
                   e. Provision of whatever other relief the Court deems just, equitable and
 17                   appropriate.
                                      DEMAND FOR JURY TRIAL
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             Plaintiff hereby demands a jury trial on issues triable by a jury.
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             RESPECTFULLY SUBMITTED this 21st day of May, 2025.
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                                                   /s/ P. Kristofer Strojnik
 22                                                P. Kristofer Strojnik (242728)
 23                                                Attorneys for Plaintiff

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  1                                        VERIFICATION
  2         I declare under penalty of perjury that the foregoing is true and correct.
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                          DATED this 21st day of May, 2025.
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                   ______________________
  8                Theresa Marie Brooke
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